          Case 2:17-cv-02652-JAR-KGG Document 20 Filed 07/16/18 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


BRENDA HEUER,                  )
                               )
               Plaintiff,      )
                               )
      vs.                      )                             Case No. 17-2652-JAR-KGG
                               )
McPHERSON & McVEY LAW OFFICES, )
CHTD,                          )
                               )
               Defendant.      )
                               )

                                              ORDER

        The Court has been advised by counsel that the parties have reached an agreement settling this

case in its entirety.

        IT IS THEREFORE ORDERED that the clerk shall administratively terminate this action

without prejudice. Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, the parties shall

file a stipulation of dismissal signed by the parties, on or before August 16, 2018. The parties may

reopen the proceedings for good cause shown, for the entry of any stipulation or order, or for any other

purpose required to obtain a final determination of the litigation. If no stipulation is received and the

parties have not moved to reopen the case within the specified time, this order shall constitute, for

purposes of Rule 58 of the Federal Rules of Civil Procedure, the Court’s entry of final judgment of

dismissal with prejudice pursuant to Rule 41(a)(2).

        IT IS SO ORDERED.

Dated: July 16, 2018
                                                       S/ Julie A. Robinson
                                                      JULIE A. ROBINSON
                                                      UNITED STATES DISTRICT JUDGE
